          21-03009-hcm
El Paso County - County CourtDoc#1-33
                              at Law 6   Filed 05/03/21 Entered 05/03/21 19:21:25 ExhibitFiled
                                                                                          Tab7/9/2020
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                                                                                                         of PM
                                                           2                                   Norma Favela Barceleau
                                                                                                          District Clerk
                                                                                                       El Paso County
                                                                                                       2020DCV0914
                                   IN THE COUNTY COURT AT LAW NUMBER SIX
                                            EL PASO COUNTY, TEXAS


            WESTAR INVESTORS GROUP, LLC;                    §
            SUHAIL BAWA; SALEEM MAKANI
            Plaintiff,
            vs.                                             §       CAUSE NO. 2020DCV0914

            THE GATEWAY VENTURES, LLC; PDG                  §
            PRESTIGE, INC.; MICHAEL DIXSON;
            SURESH KUMAR; BANKIM BHATT
            Defendant.

                                   AMENDED ORDER SETTING REMOTE HEARING

             It is hereby ordered that you attend the hearing. The Court has reset a MOTION TO DISMISS
             in the above-entitled and numbered Cause to July 13, 2020, at 10:45 AM, in the County Court
                  at Law Number Six, conducted remotely via ZOOM hearing in compliance with the
               Supreme Court of Texas Emergency Orders regarding Covid-19 State of Disaster. Join
                                                        Zoom Meeting
                                             https://txcourts.zoom.us/j/96108954882
                                                 Meeting ID: 961 0895 4882

               LOCAL COUNSEL APPEARING ON THIS CASE MUST FILE AN ENTRY OF APPEARANCE. FAILURE
            TO DO SO SHALL RESULT IN CANCELLATION OF HEARING.

              FAILURE TO APPEAR SHALL RESULT IN A JUDGMENT OR DISMISSAL FOR WANT OF
            PROSECUTION OF YOUR CASE.

              IF YOU REQUIRE AN INTERPRETER YOU ARE RESPONSIBLE IN CONTRACTING A FREELANCE
            CERTIFIED COURT INTERPRETER.




            SIGNED on this the 9th day of July, 2020.



                                                                M. SUE KURITA, JUDGE
                                                                COUNTY COURT AT LAW NUMBER SIX


             ERIC C. WOOD                                   ERIC@BROWNFOXLAW.COM
             CHANTEL CREWS                                  CCREWS@ACACIAPARK.COM
             HARREL L DAVIS, III                            HDAVIS@EPLAWYERS.COM
             JEFFRY H RAY                                   JRAY@RAYLAW.COM
             JEFFREY LUCKY                                  JLUCKY@RAYLAW.COM
             MARTYPRICE                                     MARTYPRICE@M
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                                        2



  County Court at Law Number Six is inviting
  you to a scheduled Zoom meeting.

  Join Zoom Meeting
  https://txcourts.zoom.us/j/96108954882

  Meeting ID: 961 0895 4882
  One tap mobile
  +13462487799,,96108954882# US
  (Houston)
  +12532158782,,96108954882# US
  (Tacoma)

  Dial by your location
       +1 346 248 7799 US (Houston)
       +1 253 215 8782 US (Tacoma)
       +1 669 900 6833 US (San Jose)
       +1 301 715 8592 US (Germantown)
       +1 312 626 6799 US (Chicago)
       +1 929 205 6099 US (New York)
  Meeting ID: 961 0895 4882
  Find your local number:
  https://txcourts.zoom.us/u/ablXoATRE6

  Join by Skype for Business
  https://txcourts.zoom.us/skype/96108954882
